USCA11 Case: 22-10646   Document: 9     Date Filed: 06/02/2022   Page: 1 of 44



                           No. 22-10646-CC

          IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT
                     ___________________

                        DYLAN CAMPBELL,

                          Plaintiff-Appellant,

                                   v.

       UNIVERSAL CITY DEVELOPMENT PARTNERS, LTD,
                    d/b/a VOLCANO BAY

                         Defendant-Appellee.
                        ___________________

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF FLORIDA
                   ___________________

                  APPELLANT’S INITIAL BRIEF
                     ______________________

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  USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022   Page: 2 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
                          Certificate of Interested Persons

      Appellant, Dylan Campbell, pursuant to 11th Cir. Rule 26.1-1, hereby

provides the following list of each person, attorney, association of persons, firm, law

firm, partnership and corporation that has or may have an interest in the outcome of

this action, including subsidiaries, conglomerates, affiliates, parent corporations,

publicly traded companies that own 10% or more of a party’s stock, and all other

identifiable legal entities related to any party:

      1.     Beaudine, Michael J. – Counsel for Appellee

      2.     Byron, Paul G. – United States District Judge

      3.     Campbell, Dylan – Appellant

      4.     Comcast Corporation (ticker: CMCSA)

      5.     Dietz, Matthew W. – Counsel for Appellant

      6.     Disability Independence Group, Inc. – Counsel for Appellant

      7.     Hoffman, Leslie R. – United States Magistrate Judge

      8.     Latham, Luna, Eden & Beaudine, LLP – Counsel for Appellee

      9.     NBCUniversal Media, LLC

      10.    Ogletree, Deakins, Nash, Smoak & Stewart, P.C.- Pro Hac Vice for

             Appellee




                                         Page ii
USCA11 Case: 22-10646   Document: 9    Date Filed: 06/02/2022    Page: 3 of 44
                                                          Campbell v. Universal
                                                 LT No. 20-cv-00846-PGB-LRH
                                                         Case No. 22-10646-CC
   11.   ProSlide Technology LLC.- non-party manufacturer of rides at

         Appellee’s public accommodation

   12.   Raizman, David – Pro Hac Vice for Appellee

   13.   Tasch, Stephen J., Esq.- Counsel for ProSlide Technology, LLC

   14.   Taylor, Christina – Counsel for Appellee

   15.   Universal City Development Partners, Ltd., d/b/a Volcano Bay –

         Appellee

   16.   Universal City Florida Holding Co. I

   17.   Universal City Florida Holding Co. II




                                 Page iii
 USCA11 Case: 22-10646       Document: 9     Date Filed: 06/02/2022   Page: 4 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
                      Statement Regarding Oral Argument

      Pursuant to Rule 34, Fed. R. App. P., and 11th Cir. R. 34-4, Appellant

respectfully requests that this appeal be placed on the oral argument calendar for

submission and decision with oral argument. Appellant also respectfully requests

the argument be heard in Miami, Florida.




                                      Page iv
  USCA11 Case: 22-10646                    Document: 9           Date Filed: 06/02/2022               Page: 5 of 44
                                                                                     Campbell v. Universal
                                                                            LT No. 20-cv-00846-PGB-LRH
                                                                                    Case No. 22-10646-CC
                                               Table of Contents
Certificate of Interested Persons ............................................................................... ii

Statement Regarding Oral Argument ...................................................................... iv

Table of Contents .......................................................................................................v

Table of Authorities ................................................................................................. vi

Statement of Jurisdiction............................................................................................1

Statement of the Issues...............................................................................................1

Statement of the Facts ................................................................................................2

Statement of the Case...............................................................................................12

Summary of the Argument.......................................................................................15

Standard of Review ..................................................................................................18

ARGUMENT ..........................................................................................................18

  I. UNDER THE AMERICANS WITH DISABILITIES ACT, A PUBLIC
     ACCOMMODATION     IS NOT PERMITTED TO APPLY
     ELIGIBILITY CRITERIA TO GUESTS IN A MANNER THAT
     WOULD SCREEN OUT INDIVIDUALS WITH DISABILITIES,
     UNLESS THE CRITERIA ARE NECESSARY FOR THE PROVISION
     OF THE ACCOMMODATIONS PROVIDED. ........................................18
  II. IN ALL CIRCUMSTANCES, FEDERALISM AND THE SUPREMACY
      CLAUSE MANDATE THAT CONFLICTING STATE LAWS AND
      ORDINANCES MUST CEDE TO THE REQUIREMENTS OF THE
      AMERICANS WITH DISABILITIES ACT. ............................................28
Conclusion ...............................................................................................................34

Certificate of Compliance ........................................................................................35

Certificate of Service ...............................................................................................36



                                                         Page v
  USCA11 Case: 22-10646                 Document: 9          Date Filed: 06/02/2022             Page: 6 of 44
                                                                                Campbell v. Universal
                                                                       LT No. 20-cv-00846-PGB-LRH
                                                                               Case No. 22-10646-CC
                                           Table of Authorities

Cases
Anderson v. Little League Baseball, Inc., 794 F. Supp. 342 (D. Ariz. 1992) .........22
Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320, (2015) ......................30
Astralis Condo. Ass’n v. HUD, 620 F.3d 62, 69-70 (1st Cir. 2010) .......................32
Barber v. Colorado Dep’t of Revenue, 562 F.3d 1222 (10th Cir. 2009) .................33
Bauer v. Muscular Dystrophy Ass’n, 427 F.3d 1326 (10th Cir. 2005) ...................21
Bench v. Six Flags Over Texas, Inc., 2014 WL 12586743
  (N.D. Tex 2014) ...................................................................................... 18, 27, 29
Blind Indus. & Services of Maryland v. Route 40 Paintball Park, 2012 WL
  6087489 (D. Md. 2012).........................................................................................23
Castelan v. Universal Studios, Inc., 2014 WL 210754.
  (C.D. Cal. 2014) ....................................................................................... 18, 26, 27
Celotex Corp v. Catrett, 477 U.S. 317 (1986) .........................................................19
Chevron U.S.A., Inc. v. Echazabal, 536 U.S. 73, 86 (2002) ...................................26
Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363 (2000) ................................31
Crowder v. Kitagawa, 81 F.3d 1480 (9th Cir. 1996) ............................ 32, 33, 34, 35
Doe v. Deer Mountain Day Camp, Inc., 682 F. Supp. 2d 324 (S.D.N.Y. 2010) .....21
Fidelity Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141 (1982). .................31
Gil v. Winn-Dixie Stores, Inc., 993 F.3d 126 (11th Cir. 2021). ..............................20
Hillsborough County v. Automated Med. Labs, Inc., 471 U.S. 707 (1985) ...........31
Jones v. City of Monroe, MI, 341 F.3d 474 (6th Cir.2003) ....................................32
Jones v. Rath Packing Co., 430 U.S. 519 (1977).....................................................31
Larsen v. Carnival Corp., Inc., 242 F. Supp. 2d 1333, (S.D. Fla. 2003) .................23
Leiken v. Squaw Valley Ski Corp., CIV. S-93-1622 LKK,


                                                     Page vi
  USCA11 Case: 22-10646                    Document: 9           Date Filed: 06/02/2022               Page: 7 of 44
                                                                                     Campbell v. Universal
                                                                            LT No. 20-cv-00846-PGB-LRH
                                                                                    Case No. 22-10646-CC
  1994 WL 494298 (E.D. Cal. June 28, 1994) ........................................................22
Lewis v. Brunswick Corp., 107 F.3d 1494 (11th Cir.1997) ....................................30
Masci v. Six Flags Theme Park, Inc., 2014 WL 7409952 (D. N.J. 2014)........ 18, 28
Matheis v. CSL Plasma, Inc., 936 F.3d 171 (3d Cir. 2019) ............................. 22, 25
Nat'l Fed'n of the Blind v. Lamone, 813 F.3d 494 (4th Cir. 2016)..........................32
North Carolina State Bd. of Educ. v. Swann, 402 U.S. 43 (1971). .........................33
Rendon v. Valleycrest Productions, Ltd., 294 F.3d 1279 (11th Cir. 2002) .............20
Ring v. Boca Ciega Yacht Club Inc., 4 F.4th 1149 (11th Cir. 2021) ......................20
Rizzo v. Children’s World Learning Ctrs., Inc., 84 F.3d 758 (5th Cir. 1996) ........18
Sak v. City of Aurelia, Iowa, 832 F. Supp. 2d 1026 (N.D. Iowa 2011) ..................34
Sch. Bd. of Nassau Cnty., Fla. v. Arline, 480 U.S. 273 (1987) ...............................16
Schutza v. CarMax Auto Superstores California, LLC, 2018 WL 4562771 (S.D.
  Cal. 2018) ..............................................................................................................22
Shuford v. Fid. Nat'l Prop. & Cas. Ins. Co., 508 F.3d 1337 (11th Cir. 2007) .........19
Theriault v. Flynn, 162 F.3d 46 (1st Cir. 1998) .......................................................21
United States v. Asare, 2018 WL 2465378 (S.D.N.Y. 2018) ........................... 21, 22
Wis. Pub. Intervenor v. Mortier, 501 U.S. 597 (1991) ............................................30

Statutes
§ 616.242, Fla.Stat. ....................................................................................................1
§ 760.08, Fla. Stat. ...................................................................................................12
§ 760.11, Fla. Stat. ...................................................................................................12
42 U.S.C. § 12102 ....................................................................................................20
42 U.S.C. § 12182(b)(1)(A)(i) .................................................................................20
42 U.S.C. § 12182(b)(2)(A)(ii) ................................................................................16
Americans with Disabilities Act, 42 U.S.C. § 12182 ...................................... passim



                                                        Page vii
  USCA11 Case: 22-10646                  Document: 9           Date Filed: 06/02/2022             Page: 8 of 44
                                                                                  Campbell v. Universal
                                                                         LT No. 20-cv-00846-PGB-LRH
                                                                                 Case No. 22-10646-CC
Supremacy Clause, U.S. Const. Art. VI, cl. 2 ....................................... 19, 27, 30, 33


Other Authorities

136 Cong. Rec. E1913-01, 1990 WL 80290 (May 22, 1990) .......................... 17, 29

56 Fed.Reg. 35 (July 26, 1991) ................................................................................21

William L. Moorer, Who Decides Who Rides: Examining Amusement Ride
 Access Policies and Title III, 88 Miss. L.J. 411, 425 (2019)................................24

Regulations

28 C.F.R. § 36.208 ...................................................................................................25

28 C.F.R. § 36.301 ................................................................................ 17, 20, 27, 28

28 C.F.R. § Pt. 36, App. C, p.960 (7-1-21)..............................................................23

28 C.F.R. 36.301(b) .................................................................................................21




                                                     Page viii
  USCA11 Case: 22-10646       Document: 9      Date Filed: 06/02/2022   Page: 9 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
                              Statement of Jurisdiction

      This Court has jurisdiction over this appeal from the final judgment of the

District Court entered on February 8, 2022 (Doc. 67), and from the Order Denying

Plaintiff’s Motion for Summary Judgment and Granting Defendant’s Motion for

Summary Judgment entered on February 7, 2022 (Doc. 66). Appellant timely filed

a Notice of Appeal with the District Court on February 25, 2022 (Doc. 69).

                               Statement of the Issues
      1.     Whether § 616.242(4), Fla. Stat. and § 5J-18.0011(1) F.A.C. is

preempted in this case by the Americans with Disabilities Act’s mandate that

eligibility criteria may not discriminate on the basis of disability.

      2.     Whether there was any material issue of fact in dispute regarding

Appellee’s affirmative defense that the eligibility criteria were necessary for the

provision of the accommodations being offered.

      3.     Whether Title III of the Americans with Disabilities Act permits

deference to any state or local law, regulation, or industry standard without an

evaluation of whether such requirement was based on actual risks and not on mere

speculation, stereotypes, or generalizations about individuals with disabilities.




                                        Page 1
 USCA11 Case: 22-10646      Document: 9    Date Filed: 06/02/2022   Page: 10 of 44
                                                            Campbell v. Universal
                                                   LT No. 20-cv-00846-PGB-LRH
                                                           Case No. 22-10646-CC
                              Statement of the Facts
      A. Dylan Campbell

      Appellant Dylan Campbell (“Campbell”) is a man who was born without a

right forearm and hand and does not use a prosthetic arm (Doc 28 – Pg 1). Because

he has only one arm and hand, he is a qualified person with a disability (Doc 28 –

Pg 1). Even with this disability, Campbell works, participates in multiple community

activities, and does everyday tasks without the need for an accommodation or

auxiliary aids (Doc 28 – Pg 9).

      B. Events of May 10, 2019.

      On May 10, 2019, Campbell and his family went to Volcano Bay, a water

amusement park, owned and operated by Appellant Universal City Development

Partners, Ltd in Orlando, Florida (hereinafter “Volcano Bay”) (Doc 28 – Pg 1, 2).

Campbell was able to enjoy one waterslide attraction before being told by the ride

operator he was unable to ride the “Krakatau” attraction because he could not hold

handles, provided to riders, that require two hands (Doc 28 – Pg 2). Shortly after,

Campbell was told by a manager that he could not go on any of the rides at Volcano

Bay because he did not have an arm up to the elbow (Doc 28 – Pg 10). A second

manager told Campbell he could not ride raft-style rides at Volcano Bay (Doc 28 –

Pg 10). Even though the “Krakatau” signage for potential riders indicated that

persons with heart conditions, with previously existing neck/back conditions, or who

                                      Page 2
 USCA11 Case: 22-10646        Document: 9    Date Filed: 06/02/2022    Page: 11 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
were pregnant, could not safely ride it, the signage did not indicate that people with

limb differences could not safely ride (Doc 28-1 – Pg 16).

      C. Volcano Bay and its safety requirements on May 10, 2019.

      Volcano Bay opened its facility to the public in May 2017 (Doc 28 – Pg 1, 2).

Volcano Bay contracted with ProSlide Technology, Inc. (“ProSlide”), a Canadian

corporation, to design and manufacture almost all the rides at Volcano Bay (Doc 28

– Pg 2). Volcano Bay has four types of water ride attractions: raft-style rides/aqua

coasters, waterslides without a vehicle, waterslides with a multiuser vehicle, and

waterslides with a single-user vehicle (Doc 28 – Pg 3).

      Prior to constructing the rides, ProSlide engaged in several detailed risk

analyses, both internal and external (Doc 28 – Pg 3, 7). ProSlide conducted its

standard internal risk assessments and hazard analyses, then hired Rams Consultants,

Inc. (“Rams”) to do a more detailed analysis of the risks (Doc 28 – Pg 3, 7). A risk

assessment and hazard analysis involve taking an in-depth look at the ride or ride

system and describe all reasonably expected risks contemplated for the ride, but

exclude outlandish examples that are extremely unlikely, like a meteor hitting the

ride (Doc 28 – Pg 7). The analysis assesses both the likelihood and severity of a

particular risk (such as a rider falling out of a raft-style ride) and different ways to

mitigate any risk (Doc 28 – Pg 7). ProSlide’s charts of severity and likelihood were:



                                        Page 3
 USCA11 Case: 22-10646      Document: 9    Date Filed: 06/02/2022    Page: 12 of 44
                                                            Campbell v. Universal
                                                   LT No. 20-cv-00846-PGB-LRH
                                                           Case No. 22-10646-CC

                   HAZARD SEVERITY CLASSIFICATION

CATEGORY DESCRIPTION               CONSEQUENCES FOR PEOPLE OR
                                           ENVIRONMENT
                             Single or multiple rider or support staff fatalities or
     I         CATASTROPHIC
                             total ProSlide 1505 system loss or severe
                             environmental damage
    II         CRITICAL      Severe unrecoverable rider or support staff
                             injury, major system or environmental damage,
                             (fracture of leg/arm etc. loss of sight electric
                             shock)
                             Rider or support staff recoverable injury, or
    III        MAJOR         injury requiring medical treatment only, (cuts,
                             bruises, whip lash, irritations, sprains), minor
                             system or environmental damage.
    IV         MARGINAL      Riders or support staff may experience some
                             discomfort but do not sustain any injury
    V          INSIGNIFICANT No Impact - Ride stops in safe state

     (Doc 44-1, Pg 95) (Table 1 – Hazard Severity Classification)

            FAILURE MODE LIKELIHOOD OCCURRENCE

 Description       Level                          Definition

 FREQUENT            A     Likely to occur frequently in the life of the ProSlide
                           1505, with a frequency of occurrence less than 10-s per
                           operating hour (more than 1 in 600 dispatches).
 PROBABLE            B     Will occur several times in the life of the ProSlide 1505,
                           with a frequency of occurrence greater than 10-s per
                           operating hour (fewer than 1 in 6,000 dispatches)
OCCASIONAL           C     Likely to occur several times in the life of the ProSlide
                           1505, with a frequency of occurrence greater than 106-
                           per operating hour (fewer than 1 in 60,000 dispatches).
  REMOTE             D     Likely to occur at sometime during the life of the
                           ProSlide 1505, with a frequency of occurrence greater


                                      Page 4
  USCA11 Case: 22-10646         Document: 9     Date Filed: 06/02/2022    Page: 13 of 44
                                                                 Campbell v. Universal
                                                        LT No. 20-cv-00846-PGB-LRH
                                                                Case No. 22-10646-CC

                               than 10-7 per operating hour (fewer than 1 in 600,000
                               dispatches).
 IMPROBABLE           E        Unlikely to occur but is considered possible, with a
                               frequency of occurrence greater than 10-s per operating
                               hour (fewer than 1 in 6,000,000 dispatches).
 INCREDIBLE           F        So unlikely it can be assumed occurrence will never be
                               experienced in the life of the attraction, with a frequency
                               of occurrence greater than 109- per operating hour
                               (fewer than 1 in 60,000,000 dispatches).
UNATTAINABLE          G        There is less than a 50% probability of the failure
                               occurring more than once in 10 attraction lifetimes (200
                               years)

       (Doc 44-1, Pg 95) (Table 2 – Hazard Likelihood of Occurrence)

                             RISK ASSESSMENT
   Frequency of             I         II      III    IV        V
    Occurrence         Catastrophic Critical Major Marginal Negligible
(A) Frequent           IA                 IIA          IIIA     IVA           VA
(B) Probable           IB                 IIB          IIIB     IVB           VB
(C) Occasional         IC                 IIC          IIIC     IVC           VC
(D) Remote             ID                 IID          IIID     IVD           VD
(E) Improbable         IE                 IIE          IIIE     IVE           VE
(F) Incredible         IF                 IIF          IIIF     IVF           VF
(G) Unattainable       IG                 IIG          IIIG     IVG           VG

       (Doc 44-1, pg 96) (Table 3- Risk Assessment)

             HAZARD RISK INDEX ASSESSMENT CRITERIA

 IA, 1B, IC, IIA, 11B, IIIA,    Unacceptable Risk - Intolerable risk and must be
                                reduced and controlled by design.
ID, IE, IF, IIC, IID, IIE, IIF, Undesirable Risk - requires management review and
      111B, IIIC, IVA           decision and must be reduced.
 IG, IIID, IIIE, IVB, IVC, Tolerable Risk - Risk requires engineering review and
     IVD, VA, VB, VC            approval and should be reduced if possible.


                                          Page 5
 USCA11 Case: 22-10646       Document: 9     Date Filed: 06/02/2022    Page: 14 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC

IIG, IIIF, IIIG, IVE, IVF,     Acceptable Risk - risk i s acceptable without review.
 IVG, VD, VE, VF, VG

      (Doc 44-1, Pg 97)(Table 4 – Hazard Risk Index)

      Aside from one risk that involves a hazard for a visually impaired patron

(something not relevant to Campbell), the risk assessments and hazard analyses

performed by ProSlide and Rams identified no risks for anyone with a limb

difference or any other physical disability (Doc 28 – Pg 9).

      From the risk analyses performed, ProSlide developed “Operations Manuals”

for its rides containing suggested operating guidelines (hereinafter “suggested

guidelines”) regarding riders (Doc 28-2 – 28-11). The suggested guidelines for

“Krakatau” state “each rider should have the physical abilities to support themselves

in the designated riding position during the course of the ride and landing area,” and

riders should “firmly grasp the handles” throughout the ride (Doc 28 – Pg 3).

Suggested guidelines for other rides at Volcano Bay similarly require riders to be

able to maintain the proper riding position (Doc 28 – Pg 3,4). For the ride attractions

with vehicles, riders must “firmly grasp the handles” provided in the vehicle (Doc

28 – Pg 4).

      While ProSlide’s internal and Rams’ external hazard analyses and risk

assessments identified certain risks for people not maintaining the proper ride

position throughout the ride (such as whiplash and sprains if the conveyor belt


                                       Page 6
 USCA11 Case: 22-10646        Document: 9    Date Filed: 06/02/2022    Page: 15 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
suddenly stops or if the vehicle enters the ride while a guest is not attentive (Doc 44-

1 – Pg 85), none specifically assessed the ability (or inability) of a person with a

disability to maintain the proper ride position throughout the ride, nor did they assess

any risks associated with not holding on with both hands (Doc 28 – Pg 9).

      From the Operations Manual, Volcano Bay developed a park brochure

entitled, “Guide for Rider Safety and Accessibility”, that contains rider eligibility

criteria (hereinafter “rider requirements”) (Doc 28-1 – Pg 1-20).

      On December 13, 2016, several months before opening the park, Volcano Bay

proposed its rider requirements for persons with limb differences in its own

document internally referenced to as “rider eligibility chart” (hereinafter “limb

matrix”) during its negotiations with ProSlide as to what rider requirements should

be applied to rides at Volcano Bay (Doc 28-13 – Pg 1). Volcano Bay’s proposed

rider requirements and limb matrix would have permitted Campbell, and others with

only one natural arm, to ride all the rides at Volcano Bay (Doc 28-12 and Doc 28-

13 – Pg 2). On March 6, 2017, ProSlide rejected Volcano Bay’s proposed rider

requirements and limb matrix, and began arbitrarily eliminating rides for patrons,

including Campbell, to enjoy (Doc 28-13 – Pg 3, 6 and Doc 30 – Pg 6). On April 5,

2017, ProSlide expressed their speculation as to potential risk to Volcano Bay:

          “Here is the latest based on ProSlide’s last review. Please be
          advised as well ProSlide has decided to maintain their position


                                        Page 7
 USCA11 Case: 22-10646       Document: 9    Date Filed: 06/02/2022    Page: 16 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
          on the original Limb Chart markup after further Executive
          consultation internally. We will need to discuss this at this
          meeting as well. We feel that at this time we are not prepared to
          take on these risks but will work to change the restrictions over
          time.” (Doc 28-13 – Pg 7)

      In a memorandum to Volcano Bay on April 8, 2017, ProSlide erroneously

stated that the Americans with Disabilities Act does not include waterslides because

there are no specific requirements, but again, ProSlide was speculating on the side

of safety to ensure that persons with limb differences were extra safe, but were

willing to examine these restrictions over time:

          4. There are no requirements under the ADA Standards
          Requirements for waterslides…. in fact there is a specific
          exclusion: Universal wants to be a leader in offering more
          entertainment opportunities to those with disabilities.

          ProSlide wants to help Universal do this over time and it will
          take time. It is important to note that at this time, there are no
          requirements under the ADA Standards section for waterslides
          (Industry wide)…. in fact there is a specific exclusion under
          Section 230.11. The biggest reason is safety and making sure
          that we are not putting anyone in harm’s way irresponsibly;
          …
          6. ***Over time ProSlide is very open to further discussion with
          Universal about reviewing these recommendations: The
          ProSlide Team is very sensitive to Universal’s desire to be a
          leader in offering water entertainment attractions to all people.
          For this reason, we are very open to review and further
          discussion concerning these recommendations based on our
          mutual experience with the operating rides and delivering
          ongoing safe operating procedures.




                                       Page 8
 USCA11 Case: 22-10646      Document: 9     Date Filed: 06/02/2022   Page: 17 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
          We will be working closely together on as a timely basis as
          possible to further this ADA initiative. Nobody cares more
          about this as our two companies.

(Doc 28-13 – Pg 23, 24). Then, in late April 2017, just before Volcano Bay opened,

ProSlide again rejected Volcano Bay’s latest proposed rider requirements and limb

matrix which still would have permitted Campbell to ride all the rides at Volcano

Bay, and instead proposed and approved ProSlide’s suggested guidelines that

prohibited Campbell from riding any of the rides at Volcano Bay (Doc 28 – Pg 5).

      Andreas Tanzer (“Tanzer”), Rick Hunter, and Greg White were among the

employees from ProSlide who developed the proffered guidelines (Doc 28 – Pg 7).

None have any specific background or experience in disabilities or limb differences

or in specifically developing standards or evaluating risks for persons with

disabilities or limb differences (Doc 28 – Pg 7). ProSlide’s evaluations of risks for

riders without certain limbs such as Campbell, and overall suggested guidelines are

derived from internal tests, “ride verifications”, observations by customers and ride

operators, and general experience with different amusement parks, not from

experience with disabilities or limb differences (Doc 28 – Pg 7). ProSlide had no

documentation of testing, ride verifications or any other tangible evidence of safety

risks to a person with limb differences or any other disability and did not maintain

any documentation exists regarding internal conversations having to do with limb



                                       Page 9
 USCA11 Case: 22-10646      Document: 9    Date Filed: 06/02/2022   Page: 18 of 44
                                                            Campbell v. Universal
                                                   LT No. 20-cv-00846-PGB-LRH
                                                           Case No. 22-10646-CC
differences in water rides except for those with Volcano Bay in 2016 and 2017 (Doc

28 – Pg 7-8 and Doc 28-13). Without actual verified risks, without consultation from

any medical professionals or medical experts, without any background or experience

in limb differences, prosthetics, and physiology, ProSlide generated suggested

guidelines that ultimately dictated Volcano Bay’s rider requirements and limb matrix

(Doc 30-1 – Pg 3, 7-8 and Doc 28-14)).

      Volcano Bay maintained the standards required by Pro Slide because it asserts

that § 616.242(4), Fla. Stat. requires amusement park owners/operators, to follow

regulations propounded by the Florida Department of Agriculture, 5J-18.0011(1)

F.A.C., which in turn, requires ride operators to follow manufacturer’s guidelines

(Doc 28 – Pg 6). See F770-18 §§5.1 (“5.1 Operating Document—The

owner/operator shall prepare an Operating Document for each amusement ride or

device based on the recommended instructions and specifications provided by the

manufacturer.”) (Doc 30-1 – Pg 98-101).

      While ProSlide maintained that its suggested guidelines align with “industry

accepted riding parameters” (Doc 28 – Pg 9), Volcano Bay’s expert, Brian King,

P.E., confirmed that ASTM Standard F770-18, which provides industry consensus

guidance for the owners of amusement rides, does not contain any specific

requirements for water rides (Doc 30-1 – Pg 98-101). However, the current standard



                                     Page 10
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022     Page: 19 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
allows manufacturers to create arbitrary, capricious, or absurd standards. Brian King

testified as follows:

      BY MR. DIETZ:
      Q       Okay. When – when according to Rule 6.1 and Section 6.1.2.6
      would this include any rule that the manufacturer deems to be
      necessary?
      [. . .]
      THE WITNESS: I am not sure I understand the question.
      BY MR. DIETZ:
      Q If the manufacturer said that in order to be on this ride everybody
      must be quiet. You cannot scream. That’s the manufacturer’s
      recommendation. Would it be applicable to this rule if the manufacturer
      recommended that?
      A       Yes.
      Q       Okay. If the manufacturer said in order to be on this ride you - -
      you have to have a certain BMI. If you don’t have the certain BMI
      would that be a manufacturer’s recommendation that would pertain to
      this rule?
      [. . .]
      A       Yes.
      Q       [. . .] And if - - if on this water ride if they said women cannot go
      on this ride because they are more buoyant than men would that be a
      manufacturer recommendation?
      A       [. . .] The answer is yes.
      Q       And [. . .] would there (sic) recommendation be included as
      recommended passengers restrictions under 6.1.2.6?
      A       Yes.
      Q       [. . .] what if their recommendation were entirely arbitrary? Such
      as if - - if a person had blond hair, they would not be able to go on. We
      do not recommend that they go on the ride. Would that be a
      recommended operating or maintenance instruction which would be
      recommended passenger restriction?
      A       Yes. As ridiculous as it sounds.

(Doc 37-1 – Pg 17-19).



                                        Page 11
 USCA11 Case: 22-10646       Document: 9    Date Filed: 06/02/2022    Page: 20 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
                               Statement of the Case
      On November 18, 2019, Campbell timely filed a Public Accommodations

Complaint of Discrimination with the Florida Commission on Human Relations

(“FCHR”), pursuant to the Florida Civil Rights Act, § 760.08, Fla. Stat., alleging

discrimination by a public accommodation, Volcano Bay, based upon disability

(Doc 1 – Pg 5). Since FCHR failed to determine whether there was reasonable cause

within the statutory 180-day period, Campbell complied with statutory preconditions

under § 760.11, Fla. Stat.

      On May 18, 2020, Campbell filed a complaint against Volcano Bay in the

U.S. District Court for the Middle District of Florida, Orlando Division (Doc 1).

The complaint contained two counts, the first was for violation of the Florida Civil

Rights Act of 1992, §760.08 for damages and injunctive relief for excluding

Campbell from Defendant’s public accommodation, pursuant to Florida law (Doc. 1

– Pg 7, 8). The second count was for violation of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12182 (“ADA”) when Volcano Bay imposed unlawful

eligibility criteria against persons with disabilities (Doc 1 – Pg 8, 9). Volcano Bay

answered the complaint (Doc 12).

       On October 21, 2021, Campbell filed his Motion for Summary Judgment

(Doc 29), and Volcano Bay filed its Motion for Summary Judgment (Doc 30). Most

of the facts were not in dispute and the parties filed an agreed statement of facts in

                                      Page 12
 USCA11 Case: 22-10646       Document: 9    Date Filed: 06/02/2022   Page: 21 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
order to determine whether Volcano Bay had an obligation to follow Florida law,

which eventually deferred to the manufacturer’s requirements (Doc 28).

      On February 7, 2022, the District Court entered its Final Order granting

Defendant’s Motion for Summary Judgment (Doc 66). The District Court found that

the operator of an amusement park must defer to Florida regulations without

question or evaluation due to the historic police powers of the state of Florida.

Specifically, the District Court made the following findings as a matter of law:

      (1)    “The ADA does not preempt Florida law and its accompanying

regulations” in determining what is “necessary for the safe operation of amusement

rides” and how to best fulfill “Congress’ purpose of eliminating disability

discrimination in places of public accommodation.” (Doc 66 – Pg 8).

      (2)    ProSlide’s suggested guidelines were necessary for the safe operation

of rides, without any analysis of whether evidence on the record showed they made

the rides at Volcano Bay safer or not safer to operate, or whether there was any risk

or no risk to riders with limb differences (Doc 66 – Pg 6, 7).

      (3)    Congress did not intend to oust the Florida Legislature in the field of

regulating patron health and safety in the amusement park setting and expressly

anticipated the need for exempted necessary eligibility criteria, without discussing

whether ProSlide’s suggested guidelines fit this exempted status (Doc 66 – Pg 8).



                                      Page 13
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022   Page: 22 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
      (4)     Florida regulations fit within the federal statutory scheme and were not

an obstacle to the ADA’s purpose of eliminating disability discrimination in places

of public accommodation, without analysis supporting this finding (Doc 66 – Pg 8).

      (5)     The District Court cited the state’s historic police powers to institute a

“floor” of neutral ridership eligibility criteria that the Florida Legislature deems

necessary for the safe operation of amusement rides, without discussing how

upholding the Florida legislation did not violate the ADA (Doc 66 – Pg 8).

      (6)     The Florida Legislature’s adoption of ASTM standards was reasonable

because ASTM should be responsible for ridership eligibility criteria, and ASTM’s

determination that manufacturers should evaluate ridership eligibility criteria was

also reasonable and sufficient to determine the suggested guidelines necessary for

the safe operation of Volcano Bay’s rides, without any analysis in support of this

finding (Doc 66 – Pg 9).

      (7)     The ADA does not require a reevaluation of ProSlide’s suggested

guidelines to see if they are truly necessary for the safe operation of Volcano Bay’s

rides, without analysis of whether evidence on the record supported this finding (Doc

66 – Pg 9).

      On February 25, 2022, Campbell timely filed his Notice of Appeal with the

District Court (Doc 69).



                                        Page 14
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022   Page: 23 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
                             Summary of the Argument

      In enacting the Americans with Disabilities Act, Congress intended to codify

the U.S. Supreme Court decision in Sch. Bd. of Nassau Cnty., Fla. v. Arline, 480

U.S. 273, 287,107 S.Ct. 1123, 1130-1131, 94 L.Ed. 307 (1987), where the court

stated that Section 504 of the Rehabilitation act commands an inquiry if this law is

to achieve its goal of protecting handicapped individuals from deprivations based on

prejudice, stereotypes, or unfounded fear, while giving appropriate weight to such

legitimate concerns of grantees as avoiding exposing others to significant health and

safety risks. This requirement resulted in “discrimination” being defined, in part, as

follows:

      i)    the imposition or application of eligibility criteria that screen out
      or tend to screen out an individual with a disability or any class of
      individuals with disabilities from fully and equally enjoying any goods,
      services, facilities, privileges, advantages, or accommodations, unless
      such criteria can be shown to be necessary for the provision of the
      goods, services, facilities, privileges, advantages, or accommodations
      being offered;

42 U.S.C. § 12182(b)(2)(A)(ii).

        In his speech before the House of Representatives during hearings on the

Americans with Disabilities Act, Rep. Steny Hoyer explained the inquiry demanded

as a result of imposing eligibility criteria based on disability:

             This provision ensures important protection for people with
      disabilities, while still accommodating the truly legitimate needs of


                                        Page 15
 USCA11 Case: 22-10646        Document: 9    Date Filed: 06/02/2022    Page: 24 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
       businesses. For example, entities covered under title III may not use a
       criterion for services that would deny services to a person with a
       disability for example, no services to a person with cerebral palsy or
       that would screen out people with disabilities for example, requiring a
       driver's license for identification that screens out people with epilepsy
       when another equally valid form of identification would suffice. At the
       same time, however, covered entities may impose eligibility criteria
       that are necessary for the provision of services. For example, a height
       limitation for certain rides in an amusement park may screen out certain
       persons with disabilities of short stature, but will be a legitimate
       criterion because of safety concerns. The key requirement here is that
       the criterion must, in fact, be truly necessary for the provision of
       services. It is expected that courts will carefully scrutinize any
       assertion by a covered entity that a criterion which discriminates
       against people with disabilities is necessary. For example, in the
       safety context, criteria related to such concerns must be based on
       actual risks and evidence and not on speculation, stereotypes or
       generalizations about persons with disabilities.

136 Cong. Rec. E1913-01, E1918, 1990 WL 80290 (May 22, 1990)

(Hoyer)(emphasis added). In this case, the District Court abdicated its role to

“carefully scrutinize any assertion by a covered entity that a criterion which

discriminates against people with disabilities is necessary,” but instead deferred to

the State of Florida, even when it is demonstrated that there was no sufficient basis

for the criterion.

       Eligibility criteria must be based on facts, not mere speculation, stereotypes,

or generalizations about individuals with disabilities. 28 C.F.R. § 36.301(b). As with

a direct threat, an eligibility criterion must be based on an evaluation of actual risks

and evidence, relying on current medical or best available objective evidence. 28


                                       Page 16
 USCA11 Case: 22-10646       Document: 9      Date Filed: 06/02/2022   Page: 25 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
C.F.R. § 36.208(c). The District Court failed to conduct a fact-intensive

determination and failed to weigh any evidence about any perceived risks, as to

whether disabled persons posed a risk to the safety of others by riding the rides at

Volcano Bay. See Rizzo v. Children’s World Learning Ctrs., Inc., 84 F.3d 758, 764

(5th Cir. 1996).

      Prior to this case, there were three unreported cases in which the district court

addressed the issue of eligibility criteria for amusement park rides. Masci v. Six

Flags Theme Park, Inc., 2014 WL 7409952 (D. N.J. 2014); Bench v. Six Flags Over

Texas, Inc., 2014 WL 12586743 (N.D. Tex 2014); Castelan v. Universal Studios,

Inc., 2014 WL 210754. (C.D. Cal. 2014). Two of the cases, Masci and Bench, found

that regulations may be evidence of a legitimate safety concern involving a risk of

injury. The District Court in this matter adopted the reasoning in the third, Castelan,

finding that total reliance on the state regulation is mandatory.

      As the Americans with Disabilities Act requires an independent analysis to

determine the necessity of a safety requirement that bars participation by individuals

who are disabled, and any statute, regulation or rule that removes this duty from a

federal court would be in direct conflict with the ADA. As such, when there is a

direct conflict, the Supremacy Clause of the U.S. Constitution mandates that the

federal law take precedence over state law.



                                       Page 17
 USCA11 Case: 22-10646      Document: 9      Date Filed: 06/02/2022   Page: 26 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
                               Standard of Review
      The standard of review for an appeal of a District Court’s grant of summary

judgment is de novo, with the Court viewing all facts and drawing all inferences in

the light most favorable to the nonmoving party. Shuford v. Fid. Nat'l Prop. & Cas.

Ins. Co., 508 F.3d 1337, 1341 (11th Cir. 2007). Summary judgment can only be

granted when there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); see also Celotex Corp

v. Catrett, 477 U.S. 317, 322 (1986).

                                  ARGUMENT
      I.     UNDER THE AMERICANS WITH DISABILITIES ACT, A
             PUBLIC ACCOMMODATION IS NOT PERMITTED TO
             APPLY ELIGIBILITY CRITERIA TO GUESTS IN A MANNER
             THAT WOULD SCREEN OUT INDIVIDUALS WITH
             DISABILITIES, UNLESS THE CRITERIA ARE NECESSARY
             FOR THE PROVISION OF THE ACCOMMODATIONS
             PROVIDED.

      Title III of the Americans with Disabilities Act prohibits discrimination “on

the basis of disability in the full and equal enjoyment of the goods, services,

facilities, privileges, advantages, or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place

of public accommodation.” 42 U.S.C. § 12182(a). For purposes of the general

discrimination provision, discrimination includes “(i) the imposition or application

of eligibility criteria that screen out or tend to screen out an individual with a

                                        Page 18
 USCA11 Case: 22-10646        Document: 9    Date Filed: 06/02/2022    Page: 27 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
disability or any class of individuals with disabilities from fully and equally enjoying

any goods, services, facilities, privileges, advantages, or accommodations, unless

such criteria can be shown to be necessary for the provision of the goods, services,

facilities, privileges, advantages, or accommodations being offered.” 42 U.S.C. §

12182(b)(1)(A)(i), 28 C.F.R. § 36.301 Similarly, Florida courts construe the public

accommodations provisions of the Florida Civil Rights Act in conformity with the

Americans with Disabilities Act. Ring v. Boca Ciega Yacht Club Inc., 4 F.4th 1149,

1155 (11th Cir. 2021).

      To establish a claim, a plaintiff must allege that he has a disability as defined

by 42 U.S.C. § 12102, and that defendants' imposition or application of unnecessary

eligibility criteria has screened them out or tended to screen them out from accessing

a privilege or advantage of defendants' public accommodation. Rendon v.

Valleycrest Productions, Ltd., 294 F.3d 1279, 1283 (11th Cir. 2002); see also Gil v.

Winn-Dixie Stores, Inc., 993 F.3d 1266, 1278 (11th Cir. 2021).

      Title III regulations provide that “[a] public accommodation may impose

legitimate safety requirements that are necessary for safe operation.” 28 C.F.R.

36.301(b). The regulations explain that these requirements “must be based on actual

risks and not on mere speculation, stereotypes, or generalizations about individuals

with disabilities.” Id. The Department of Justice has explained that this regulation



                                       Page 19
 USCA11 Case: 22-10646         Document: 9     Date Filed: 06/02/2022     Page: 28 of 44
                                                                Campbell v. Universal
                                                       LT No. 20-cv-00846-PGB-LRH
                                                               Case No. 22-10646-CC
permits public accommodations to “impose neutral rules and criteria that screen out,

or tend to screen out, individuals with disabilities, if the criteria are necessary for the

safe operation of the public accommodation.” 56 Fed.Reg. 35, 544-01 (July 26,

1991); see also 28 C.F.R. 36.301(a).

      Eligibility criteria can be considered “necessary” when they are imposed to

ensure safety and are necessary. See Bauer v. Muscular Dystrophy Ass’n, 427 F.3d

1326, 1331-32 (10th Cir. 2005) (affirming the district court's finding that a summer

camp's requirement that volunteers be able to lift and care for a camper was

necessary for the safe operation of the camp); United States v. Asare, 2018 WL

2465378 (S.D.N.Y. 2018) (cosmetic medical practice's eligibility criteria, which

screened out individuals with HIV, was not necessary); accord Doe v. Deer

Mountain Day Camp, Inc., 682 F. Supp. 2d 324 (S.D.N.Y. 2010)(No basis in actual

risk to bar child who was HIV+ from basketball camp); Theriault v. Flynn, 162 F.3d

46, 50 (1st Cir. 1998) (holding that it was permissible for a licensing officer to

require an individual with an apparent lack of hand control to take a road test prior

to renewing his license to operate a vehicle equipped with hand controls because

“the safety of the public at large is implicated”), or to achieve the essential purpose

of the services offered; Leiken v. Squaw Valley Ski Corp., CIV. S-93-1622 LKK,

1994 WL 494298, at *9 (E.D. Cal. June 28, 1994)(ski resort's prohibition of



                                         Page 20
 USCA11 Case: 22-10646        Document: 9    Date Filed: 06/02/2022    Page: 29 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
wheelchairs on cable car ski lifts that denied access to the ski resort's facilities was

based on unsupported subjective judgment of the operator of the resort); Anderson

v. Little League Baseball, Inc., 794 F. Supp. 342 (D. Ariz. 1992) (speculation that a

coach who used a wheelchair would be a safety threat in that a child may collide

with a wheelchair found unsupported and speculative)

      All courts that have addressed the affirmative defense of legitimate safety

requirements have found that there must be evidence that the rule is based on actual

risks and not speculation or stereotypes. See Matheis v. CSL Plasma, Inc., 936 F.3d

171, 179 (3d Cir. 2019) (finding that a rule barring all dogs, including service

animals, is not a legitimate safety criterion at a blood plasma center); Schutza v.

CarMax Auto Superstores California, LLC, 2018 WL 4562771, at *6 (S.D. Cal.

2018)(finding rule that excludes all paraplegics from test driving cars with

temporary hand controls found unsubstantiated by risk and unnecessary); United

States v. Asare, 2018 WL 2465378, at *5 (S.D.N.Y. 2018) (finding criteria of

cosmetic surgery center that excluded those who are HIV+ as unnecessary to ensure

safety); Blind Indus. & Services of Maryland v. Route 40 Paintball Park, 2012 WL

6087489, at *6 (D. Md. 2012)(safety rule that blind people cannot play paintball

because they could not perceive what they were shooting as question of fact); Larsen

v. Carnival Corp., Inc., 242 F. Supp. 2d 1333, 1345-6 (S.D. Fla. 2003)(finding that



                                       Page 21
    USCA11 Case: 22-10646      Document: 9     Date Filed: 06/02/2022   Page: 30 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
cruise line imposed neutral eligibility requirements when requiring a man to

disembark when sailing cannot not impose a critical risk to any individual's health.)

        The guidance to the 1991 regulations provides examples of criteria that would

be a violation:

        It would violate this section to establish exclusive or segregative
        eligibility criteria that would bar, for example, all persons who are deaf
        from playing on a golf course or all individuals with cerebral palsy from
        attending a movie theater, or limit the seating of individuals with
        Down's syndrome to only particular areas of a restaurant.

28 C.F.R. § Pt. 36, App. C, p.960 (7-1-21). Instead, any eligibility requirement

should be neutral and focused on the specific issue that necessitated the safety

requirement that created a substantial risk.

        [A]ny eligibility or safety standard established by a public
        accommodation must be based on actual risk, not on speculation or
        stereotypes; it must be applied to all clients or customers of the place
        of public accommodation; and inquiries must be limited to matters
        necessary to the application of the standard.

28 C.F.R. § Pt. 36, App. C, p. 955 (7-1-21). Two examples in the guidance to the

regulations include height requirements for certain amusement park rides and a

necessary level of swimming proficiency for all participants in a recreational rafting

expedition. Id at p. 960.1

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  See generally, William L. Moorer, Who Decides Who Rides: Examining
Amusement Ride Access Policies and Title III, 88 Miss. L.J. 411, 425 (2019)(“ Ride
manufacturers, adhering to ASTM standards, must establish and provide ride owners
with “any [] passenger limitations such as, but not limited to, height passenger

                                        Page 22
 USCA11 Case: 22-10646      Document: 9     Date Filed: 06/02/2022    Page: 31 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
      For example, in Blind Indus. & Services of Maryland, a paintball park did not

permit a group of blind persons from engaging in a paintball fight. The court

recognized that “perceived” was the operative word in the rule that requires “players

to perceive what they are shooting,” and that being blind does not necessary equate

to perceiving as the blind students have learned alternate methods to perceive. Blind

Indus. & Services of Maryland, 2012 WL at *6. In Matheis v. CSL Plasma, Inc., 936

F.3d 171, 179 (3d Cir. 2019), the Appellee maintained that the federal regulations

for blood transfusions provided them the total discretion to determine the donor’s

eligibility to donate blood. Matheis, 936 F.3d at 180. The Court disagreed and found

that the accommodation must still proceed with the safety analysis.

      CSL contends that it has complete discretion to determine what
      treatments, including use of service animals, show a donor may be
      harmed by donating. This overreads the blood transfusion regulation. It
      does not give plasma donation centers carte blanche to ignore U.S. law,
      which not only mandates that service animals be allowed, 28 C.F.R. §
      36.302(c), but also specifies when public accommodations may adopt

placement, or any other appropriate restrictions.” ASTM standards provide
manufacturers with testing procedures to determine any passenger limitations. The
testing procedures ensure manufacturers accurately calculate the actual dynamic
forces that patrons experience on a ride. Using these procedures, manufacturers
collect biometric data and analyze the actual risk of a ride's dynamic forces on
potential riders. Manufacturers, in turn, use this information to create the rider
restrictions that are provided to the ride owners.” Accordingly, to develop height
limitations, manufactures must apply testing procedures and determine the actual
dynamic forces that riders experience to determine the safety of using the ride. In
this matter, and distinguished from a roller coaster, there are no standards for
manufactures, there were no testing procedures undertaken, there were no dynamic
forces measured, and there was no biometric data collected.

                                      Page 23
 USCA11 Case: 22-10646       Document: 9      Date Filed: 06/02/2022   Page: 32 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
      rules that exclude disabled individuals in the name of safety, 28 C.F.R.
      36.301. Applied to our case, CSL may consider a service animal among
      the list of “[c]ertain medical treatments” it can assess for eligible
      donating of plasma so long as it can show that the safety policy it adopts
      is based on “actual risk and not mere speculation, stereotypes, or
      generalizations about individuals with disabilities.”

Matheis., 936 F.3d 171, 180 (3d Cir. 2019). Similarly, Florida regulation does not

give carte blanche to ignore U.S. law, and must even determine whether the

regulations are based on actual risks.

      The analysis for direct threat has been found not to be relevant for an inquiry

related to an eligibility safety requirement. Matheis, 936 F.3d at 180. The direct

threat analysis requires an individualized assessment of a particular person with a

disability to demonstrate a direct threat to the health and safety of others. See 28

C.F.R. § 36.208. However, similar to determining the validity of an eligibility

requirement involving safety, in determining the existence of a direct threat, a

judgment cannot be based on generalizations or stereotypes about the effects of a

particular disability, but must result from “an individualized assessment, based on

reasonable judgment that relies on current medical evidence or on the best available

objective evidence.” 28 C.F.R. § 36.208(c); Chevron U.S.A., Inc. v. Echazabal, 536

U.S. 73, 86 (2002) (quoting 29 CFR § 1630.2(r) (2001)(“The direct threat defense

must be ‘based on a reasonable medical judgment that relies on the most current

medical knowledge and/or the best available objective evidence,’ and upon an


                                         Page 24
 USCA11 Case: 22-10646       Document: 9    Date Filed: 06/02/2022    Page: 33 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
expressly ‘individualized assessment of the individual's present ability to safely

perform the essential functions of the job,’ reached after considering, among other

things, the imminence of the risk and the severity of the harm portended.”) In

Echazabal, the Court was concerned about the ADA’s goals of rejecting the

Congressional policy against paternalism that Congress had in its sights when it

passed and focusing on both the documented risks involved and the imminence of

the risk. Id. at 85-86.

       There are three unreported cases, all in 2014, that involve the application of

the ADA to amusement park rides, and each of these cases involved the effect of

state regulations to the application of the ADA. Two of these cases found that

regulations may be evidence of a justifiable safety standard, while one found that

complete deference must be provided to state regulations. The District Court in this

case followed the minority position - Castelan v. Universal Studios, Inc., 2014 WL

210754. (C.D. Cal. 2014). In Castellan, the court found that California state law

requires that the manufacturer’s safety criteria for a roller coaster be followed, and

the Court cannot second-guess the manufacturer’s safety requirements. Id at *7.

Since the manufacturer has directed that a rider must have at least one functioning

arm and hand, and at least one leg and foot, the public accommodation is not

responsible to challenge the manufacturer's operating manual, and ensure these



                                      Page 25
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022    Page: 34 of 44
                                                               Campbell v. Universal
                                                      LT No. 20-cv-00846-PGB-LRH
                                                              Case No. 22-10646-CC
requirements are in fact necessary for the safe operation of the ride. Id. According

to the Castelan court, the plaintiff had the obligation to initiate an action against the

manufacturer if he believed the restrictions violate the ADA. Id.

      In adopting the reasoning of Castelan, the District Court in this case opined

that there would not be a cause of action against the manufacturer who is not a public

accommodation as defined under the statute, and a court cannot “amend the ADA

and fabricate liability where none seems to exist” (Doc 66 – Pg 9).

      In Bench v. Six Flags Over Texas, Inc., 2014 WL 12586743 (N.D. Tex 2014),

the District Court found that the public accommodation had an independent

requirement to determine whether the eligibility rule satisfied 28 C.F.R. § 36.301

and state law could not be an absolute defense when it would conflict with the

requirements of federal law pursuant to the Supremacy Clause of the U.S.

Constitution. U.S. Const. Art. VI, cl. 2 Id. at *7. The amusement park had the

obligation to establish their eligibility criteria on the merits. Id. The Court found the

evidence of generalized statements by the ride operator did not meet the standards

required under 36.301:

      That evidence could be summarized in two sentences: “Trust us on this
      one. Somebody said we needed to do it.” None of it shows what “actual
      risk” the criteria was based on. Nor does it show how the amusement
      park made an “individualized assessment” at all. At best, it shows they
      bluntly compared a wide class of rides and imposed uniform
      requirements. That broad approach is commendable in terms of cost.


                                        Page 26
 USCA11 Case: 22-10646       Document: 9     Date Filed: 06/02/2022    Page: 35 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
      But it also leaves Bench without an answer as to why his disability
      prevents him from safely riding roller coasters, and it does not satisfy
      the ADA's requirements.

Id at *9. Similar to Bench, the District Court in Masci v. Six Flags Theme Park, Inc.,

2014 WL 7409952 (D. N.J. 2014) found that the amusement park can rely on the

ride manufacturer’s expertise, as they were in the best position to make the ride safe

for all guests. This is not an absolute defense, but evidence of a legitimate safety

requirement under the ADA. Id. at *10. But, in the absence of specific

manufacturer’s guidelines, the rules did not meet the requirement of §36.301.

      Defendants have failed to provide any evidence supporting why these
      ridership requirements were established. These standards created by
      Six Flags—that apply to apparently every ride except an extremely
      small minority—have not been established or shown to be necessary
      for the safe operation of each ride. It certainly fails to establish what
      “actual risk” the safety requirements are based on. See 28 C.F.R. §
      36.301. Indeed, such a blanket approach to ridership requirements of
      rides with varying levels of risk (from “mild” to “high thrill”) certainly
      insinuates the imposition of such requirements was based on “mere
      speculation, stereotypes, or generalizations about individuals with
      disabilities” rather than actual risk. Id.

Id at *11. With regulatory requirements similar to that in this matter, the District

Court in Bench found the responsibility to ensure that the manufacturer complies

with the ADA rested with the public accommodation.

      And besides, if the amusement park does not take a hard look at the
      criteria, who will? States are passing the buck to ASTM and ASTM is
      passing the buck to manufacturers. The Castelan court suggested they,
      the manufacturers, are the ones who should be held accountable, see


                                       Page 27
 USCA11 Case: 22-10646      Document: 9     Date Filed: 06/02/2022   Page: 36 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
      Castelan, 2014 WL 210754, at *7 (“If Plaintiffs believe the restrictions
      are overprotective, they are free to initiate an action against the
      manufacturer.”), but this Court is not so sure that is possible. The
      prohibition on discrimination applies to “any person who owns, leases
      (or leases to), or operates a place of public accommodation.” 42 U.S.C.
      § 12182(a).

Bench, 2014 WL 12586743, at *8.

      In this matter, Volcano Bay had the burden to establish that the qualification

criterion which discriminates against people with disabilities is necessary; as such,

the criteria related to such concerns must be based on actual risks and evidence and

not on speculation, stereotypes, or generalizations about persons with disabilities.

136 Cong. Rec. E1913-01, E1918 (Hoyer). To the extent that the public

accommodation relies on any public entity (State of Florida), private entity

(ProSlide), on industry group (ASTM), that establishes criterion, it does not excuse

the public accommodation from its burden to establish that such criterion is based

on actual risks and evidence. There is no justification to permit a public

accommodation to perpetuate discrimination against any protected class.

      II.    IN ALL CIRCUMSTANCES, FEDERALISM AND THE
             SUPREMACY CLAUSE MANDATE THAT CONFLICTING
             STATE LAWS AND ORDINANCES MUST CEDE TO THE
             REQUIREMENTS      OF THE  AMERICANS   WITH
             DISABILITIES ACT.

      The Supremacy Clause of the Constitution “creates a rule of decision: Courts

‘shall’ regard ‘the Constitution,’ and all laws ‘made in Pursuance thereof,’ as ‘the


                                      Page 28
 USCA11 Case: 22-10646       Document: 9    Date Filed: 06/02/2022    Page: 37 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
supreme Law of the Land,’” and therefore courts “must not give effect to state laws

that conflict with federal laws.” Armstrong v. Exceptional Child Center, Inc., 575

U.S. 320, 324, 135 S.Ct. 1378, 191 L.Ed.2d 471 (2015) (Scalia, J.) (quoting U.S.

Const. Art. VI, cl. 2). Any state law that conflicts with federal law is preempted by

the federal law and is without effect pursuant the Supremacy Clause of the

Constitution. Lewis v. Brunswick Corp., 107 F.3d 1494, 1500 (11th Cir.1997) (citing

Cipollone v. Liggett Group, Inc., 505 U.S. 504, 516 (1992)). State laws that

“interfere with, or are contrary to the laws of congress, made in pursuance of the

constitution” are invalid. Wis. Pub. Intervenor v. Mortier, 501 U.S. 597, 604 (1991)

(citing Gibbons v. Ogden, 9 Wheat. 1, 211, 6 L.Ed. 23 (1824)); see also U.S. Const.

Art. VI, cl. 2.

       In evaluating whether federal law takes precedence over state law, the court

begins with the presumption that “the historic police powers of the States were not

to be superseded by [a] Federal Act unless that was the clear and manifest purpose

of Congress.” Jones v. Rath Packing Co., 430 U.S. 519, 523, 97 S.Ct. 1305, 51

L.Ed.2d 604 (1977) (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230,

(1947) (quotations omitted)). Such conflicts exist not only where “it is impossible .

. . to comply with both state and federal law,” but also “where under the

circumstances of [a] particular case, [the challenged state law] stands as an obstacle



                                      Page 29
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022     Page: 38 of 44
                                                                Campbell v. Universal
                                                       LT No. 20-cv-00846-PGB-LRH
                                                               Case No. 22-10646-CC
to the accomplishment and execution of the full purposes and objectives of

Congress.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372-3 (2000)

(internal citation and quotation marks omitted). The Supreme Court has “held

repeatedly that state laws can be pre-empted by federal regulations as well as by

federal statutes,” Hillsborough County v. Automated Med. Labs, Inc., 471 U.S. 707,

713 (1985), and that “[f]ederal regulations have no less pre-emptive effect than

federal statutes,” Fidelity Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 141, 153

(1982).

      The courts of appeals have consistently and repeatedly applied such principles

in holding that federal disability rights laws, including the ADA, preempt state

statutes to the extent that state laws conflict with federal mandates. See, e.g., Astralis

Condo. Ass’n v. HUD, 620 F.3d 62, 69-70 (1st Cir. 2010) (defendant could not

permissibly rely on Puerto Rico law to refuse to provide an accommodation required

under the Fair Housing Act for a person with a disability); Mary Jo C. v. New York

State & Local Ret. Sys., 707 F.3d 144 (2d Cir. 2013) (“Congress clearly meant Title

II to sweep broadly. If all state laws were insulated from Title II's reasonable

modification requirement solely because they were state laws, ‘state law [would

serve as] an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress’ in enacting Title II.”); Nat'l Fed'n of the Blind v. Lamone,



                                        Page 30
 USCA11 Case: 22-10646      Document: 9     Date Filed: 06/02/2022   Page: 39 of 44
                                                             Campbell v. Universal
                                                    LT No. 20-cv-00846-PGB-LRH
                                                            Case No. 22-10646-CC
813 F.3d 494, 509 (4th Cir. 2016)( If “all state laws were insulated from Title II's

reasonable modification requirement solely because they were state laws ... the ADA

would be powerless to work any reasonable modification in any requirement

imposed by state law, no matter how trivial the requirement and no matter how

minimal the costs of doing so.”); Jones v. City of Monroe, MI, 341 F.3d 474, 487

(6th Cir.2003), abrogated on other grounds by Anderson v. City of Blue Ash, 798

F.3d 338 (6th Cir.2015)(“Requiring public entities to make changes to rules,

policies, practices, or services is exactly what the ADA does.”); Crowder v.

Kitagawa, 81 F.3d 1480 (9th Cir. 1996) (concluding that Hawaii’s animal quarantine

law, as applied to guide dogs, denied plaintiffs access to state services, programs,

and activities in violation of the ADA); Barber v. Colorado Dep’t of Revenue, 562

F.3d 1222, 1233 (10th Cir. 2009) (emphasizing that proposed accommodation under

federal disability law is not unreasonable simply because it might require defendants

to violate state law). As the Tenth Circuit has emphasized, “[r]eliance on state

statutes to excuse non-compliance with federal law is simply unacceptable under the

Supremacy Clause.” Barber, 562 F.3d at 1233. Simply put, a defendant “is duty

bound not to enforce a [state] statutory provision if doing so would either cause or

perpetrate unlawful discrimination” under federal law. Astralis, 620 F.3d at 69. To

the extent Florida law or regulation impedes any public accommodation’s ability to



                                      Page 31
 USCA11 Case: 22-10646        Document: 9     Date Filed: 06/02/2022     Page: 40 of 44
                                                                Campbell v. Universal
                                                       LT No. 20-cv-00846-PGB-LRH
                                                               Case No. 22-10646-CC
comply with its ADA obligations, state law must “give way.” North Carolina State

Bd. of Educ. v. Swann, 402 U.S. 43, 45 (1971).

      The Court’s analysis in this matter is identical to the 9th Circuit in Crowder

where the district court determined that “[t]he legislature has already thoroughly

considered [the plaintiffs'] proposed alternatives and has rejected them. As noted

earlier, it is the province of the legislature, and not this court, to assess the efficacy

of public health measures against the risks they are designed to reduce, particularly

when the questions are debatable, and experts disagree as to the best solution to the

problem.” Crowder, 81 F.3d at 1485. The Crowder court reversed specifically on

this point, as follows:

             The court's obligation under the ADA and accompanying
      regulations is to ensure that the decision reached by the state authority
      is appropriate under the law and in light of proposed alternatives.
      Otherwise, any state could adopt requirements imposing unreasonable
      obstacles to the disabled, and when haled into court could evade the
      antidiscrimination mandate of the ADA merely by explaining that the
      state authority considered possible modifications and rejected them.

             We are mindful of the general principle that courts will not
      second-guess the public health and safety decisions of state legislatures
      acting within their traditional police powers. See Queenside Hills
      Realty Co. v. Saxl, 328 U.S. 80, 82–83, 66 S.Ct. 850, 851–52, 90 L.Ed.
      1096 (1946). However, when Congress has passed antidiscrimination
      laws such as the ADA which require reasonable modifications to public
      health and safety policies, it is incumbent upon the courts to insure that
      the mandate of federal law is achieved.




                                        Page 32
 USCA11 Case: 22-10646       Document: 9     Date Filed: 06/02/2022    Page: 41 of 44
                                                              Campbell v. Universal
                                                     LT No. 20-cv-00846-PGB-LRH
                                                             Case No. 22-10646-CC
Crowder, 81 F.3d at 1485. In this matter, the state did not even

thoroughly considered the issue, it just meekly deferred to industry standards which

referred to the manufacturer’s requirements. The public interest in enforcing the

ADA ‘trumps’ the needs of the operators of amusement park rides to influence state

regulators to defer to their needs or desires. See Sak v. City of Aurelia, Iowa, 832

F. Supp. 2d 1026, 1047 (N.D. Iowa 2011) (holding that “the national public interest

in enforcement of the ADA ‘trumps’ the more local public interest in public health

and safety reflected in the Ordinance prohibit pit bulls”)

      “The conflict between federal and state law is unmistakable here […] And the

conflict is over a matter of central importance to the federal scheme.” Florida Lime

& Avocado Growers, Inc. v. Paul, 373 U.S. 132, 173 (1963). The federal scheme

here is the protection of disabled individuals from deprivations stemming from

arbitrary eligibility requirements based solely on mere speculation and

generalizations about persons with disabilities. See 42 U.S.C. § 12182. Campbell

asserts that federal law under the ADA must be complied with in order to justify

eligibility criteria based on real risks and not stereotypes, that tend to screen out

individuals with disabilities. See 42 U.S.C. § 12182(a). Volcano Bay asserts Florida

state law under its Department of Agriculture’s regulations ultimately empowers

manufacturers to dictate the justifiability of eligibility criteria. See 5J-18.0011(1).



                                       Page 33
USCA11 Case: 22-10646   Document: 9   Date Filed: 06/02/2022   Page: 42 of 44
USCA11 Case: 22-10646   Document: 9   Date Filed: 06/02/2022   Page: 43 of 44
USCA11 Case: 22-10646   Document: 9   Date Filed: 06/02/2022   Page: 44 of 44
